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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN

TENIA GOSHAY, PERSONAL
REPRESENTATIVE OF THE ESTATE OF
CORNELIUS FREDERICK, DECEASED,                      Case No. 21-cv-00848

       Plaintiff,                                   Hon. Robert J. Jonker

v.

LAKESIDE FOR CHILDREN d/b/a
LAKESIDE ACADEMY; LAKESIDE
ACADEMY; SEQUEL YOUTH SERVICES OF
MICHIGAN, LLC; SEQUEL TSI HOLDINGS,
LLC; SEQUEL YOUTH AND FAMILY
SERVICES, LLC; SEQUEL ACADEMY
HOLDINGS, LLC; SEQUEL YOUTH
SERVICES, LLC; COLE HODGE
(DEFENDANT #1); ZACHARY SOLIS
(DEFENDANT #2); MICHAEL MOSLEY
(DEFENDANT #3); ORLANDO LITTLE, JR.
(DEFENDANT #4); COADY RIES
(DEFENDANT #5); MAURICE DAVIS
(DEFENDANT #6); JA’SHON CHEEKS
(DEFENDANT #7); BRANDON REYNOLDS
(DEFENDANT #8); HEATHER MCLOGAN
(DEFENDANT #9; and BRADLEY HODGE
(DEFENDANT #10).

       Defendants.

                           NOTICE OF SETTLEMENT

        Plaintiff hereby provides notice to the Court that the parties have reached a

settlement of this matter. The parties will require additional time to finalize their

settlement and submit closing documents. In the meantime, the parties wish to


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excuse Defendants from filing responsive pleadings, and it is the parties’

understanding that submitting this Notice will so excuse Defendants.

                                  Respectfully submitted,

Date: December 2, 2021            /s/: Geoffrey N. Fieger
                                  Geoffrey N. Fieger (P30441)
                                  Fieger, Fieger, Kenney & Harrington, P.C.
                                  Attorneys for Plaintiff
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                                         AND

                                  Jonathan R. Marko (P72450)
                                  MARKO LAW, PLLC
                                  Attorneys for Plaintiff
                                  1300 Broadway Street, Fifth Floor
                                  Detroit, MI 48226
                                  (313) 777-7529 / (313) 771-5785


                               PROOF OF SERVICE
             The undersigned hereby certifies that she served a copy of the
           foregoing upon all attorneys of record at their respective business
            addresses as disclosed by the pleadings of record herein on this
                              2nd day of December, 2021.
                  __US Mail ___ Hand Delivered ___ UPS ___ Other
                  ___Email X ECF ___ Federal Express ___ Facsimile
                           Signature: /s/ Samantha M. Teal
                        Legal Assistant to Geoffrey N. Fieger




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